                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF ALABAMA
                                    NORTHERN DIVISION

In re:
                                                                       Chapter 11
REMINGTON OUTDOOR
COMPANY, INC. et al.,1                                                 Case No. 20-81688-CRJ11


                 Debtors.


         NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS


         PLEASE TAKE NOTICE that JJE Capital Holdings, LLC (“JJE Capital”), by and

through its undersigned attorney, appears in this matter pursuant to Bankruptcy Rules 2002 and

9010 and sections 102(1), 342, and 1109(b) of the Bankruptcy Code and hereby requests that all

notices given or required to be given in this case and all papers served or required to be served in

this case, be given to and served upon the following:

                                          Henry C. Shelton, III
                                         ADAMS AND REESE LLP
                                      6075 Poplar Avenue, Suite 700
                                       Memphis, Tennessee 38119
                                          Phone: (901) 525-3234
                                        henry.shelton@arlaw.com

         PLEASE TAKE FURTHER NOTICE that under section 1109(b) of the Bankruptcy Code,

this request includes not only the notices and papers to which the Federal Rules of Bankruptcy

Procedure refer, but also includes, without limitation, orders and notices of any application,


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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI
Operating Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc.
(3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655);
Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor
Services, LLC (2405). The Debtors’ corporate headquarters are located at 100 Electronics Boulevard SW, Huntsville
Alabama 35824.




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motion, petition, pleading, request, complaint, or demand, disclosure statement, plan of

reorganization, and answering or reply papers, whether formal or informal, whether written or oral,

and whether transmitted or conveyed by mail, courier service, hand delivery, telephone, facsimile

transmission, telegraph, telex, or otherwise that (1) affects or seeks to affect in any way any rights

or interest of any creditor or party in interest in this case, including JJE Capital Holdings, LLC,

with respect to: (a) the Debtor; (b) property of the estate or proceeds thereof in which the Debtor

may claim an interest; or (c) property of the estate or proceeds thereof in the possession, custody,

or control of others that the Debtor may seek to use; or (2) that requires or seeks to require any act,

delivery of any property, payment or other conduct by JJE Capital Holdings, LLC.

       PLEASE TAKE FURTHER NOTICE that neither this notice nor any later appearance,

pleading, claim, or suit shall waive (1) JJE Capital Holdings, LLC’s right to have final orders in

non-core matters entered only after de novo review by a United States District Court; (2) JJE

Capital Holdings, LLC’s right to a trial by jury in any proceeding so triable in this case or any

case; (3) JJE Capital Holdings, LLC’s right to have the United States District Court withdraw

the reference in any matter subject to mandatory or discretionary withdrawal; or (4) any other

rights, claims, actions, defenses, setoffs, or recoupments to which JJE Capital Holdings, LLC is

or may be entitled under agreements, in law or in equity, all of which rights, claims, actions,

defenses, setoffs, and recoupments which it expressly reserves.

       Dated this 17th day of September 2020.

                                                       Respectfully submitted,

                                                       ADAMS AND REESE LLP

                                                       /s/ Henry C. Shelton, III
                                                       Henry C. Shelton, III
                                                       6075 Poplar Avenue, Suite 700
                                                       Memphis, TN 38119

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                                                      Telephone:    (901) 525-3234
                                                      Facsimile:    (901) 524-5429
                                                      henry.shelton@arlaw.com

                                                      Counsel for JJE Capital Holdings, LLC




                                 CERTIFICATE OF SERVICE

         I hereby certify that I electronically filed the foregoing with the Clerk of the Court using
the CM/ECF system which will send notification of such filing this 17th day of September 2020,
to all parties receiving electronic notices in this bankruptcy matter.
                                                      /s/ Henry C. Shelton, III
                                                      OF COUNSEL




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